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IN THE UNITED sTATEs DISTRICT CoURT FlLED BY --» '3-‘3-

FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

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JANE DoE #l, ET AL., CUZHK,USF‘ `Rf.r
W/DO:"M *:;i §\'l§°/"D}"FS
Plaintiffs,
vs. No. 04-2283~Map

MEMPHIS CITY SCHOOLS, ET AL.,

Defendants.

 

ORDER AMENDING SCHEDULE

 

Pursuant to plaintiffs' July 28, 2005, motion for
continuance of the trial in this matter, the court held a status
conference on August 5, 2005. Attending on behalf of the
plaintiffs Was William Winchester. Participating on behalf of
the defendants Were Joe Wyatt and Geoffrey Gaia. For good cause
shown, the motion was granted and the court amends the schedule
as follows:

l. The parties shall file a joint proposed pretrial order

by 5:00 p.m., September 9, 2005.
2. A pretrial conference is reset to Friday, September 16,

2005, at 2:30 p.m.

3. The case is reset for trial on Sept@mber 26’ 2005' at
9:30 a.m.

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Absent good cause, the amended schedule set by this order
will not be modified or extended.

So ORDERED this lgit`day of August, 2005.

j/Vm/L__`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:04-CV-02283 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

